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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

HAROLD FRANKLIN OVERSTREET,                          §
                                                     §
        Plaintiff,                                   §
                                                     §
v.                                                   §
                                                           CIVIL ACTION NO.: ____________
                                                     §
ALLSTATE VEHICLE AND PROPERTY                        §
INSURANCE COMPANY,                                   §
                                                     §
        Defendant.                                   §

DEFENDANT ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY’S
                     NOTICE OF REMOVAL

        Defendant Allstate Vehicle and Property Insurance Company files this Notice of Removal

pursuant to 28 U.S.C. §§ 1332, 1441 and 1446(a) and shows as follows:

                                      I.      INTRODUCTION

        1.       This is an insurance coverage and bad faith case. On February 12, 2020, Plaintiff filed

his Original Petition in Cause No. 096-315149-20 in the 96th Judicial District Court of Tarrant

County, Texas, initiating a civil cause of action against Defendant. Exhibit C.

        2.       Removal is based on diversity jurisdiction because the amount in controversy exceeds

$75,000, exclusive of interest and costs, and there is complete diversity between Plaintiff and

Defendant.

        3.       Plaintiff alleges multiple causes of action against Defendant related to its handling of

a property insurance claim submitted by Plaintiff. Plaintiff specifically alleges breach of contract;

non-compliance with Chapter 542 of the Texas Insurance Code; and non-compliance with Chapter

541 of the Texas Insurance Code and “bad faith.” Plaintiff further alleges “Defendant knowingly

committed the acts complained of,” entitling Plaintiff to exemplary and/or treble damages per the

Texas Insurance Code. Plaintiff seeks “monetary relief over $100,000, but not more than $200,000,


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including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney’s

fees.” Exhibit C at ¶ 4.

        4.       Allstate received the Citation and Plaintiff’s Original Petition by certified mail on or

about February 18, 2020. Allstate filed its Original Answer to Plaintiff’s Original Petition on March

11, 2020. Exhibit G.

        5.       Allstate now files this Notice of Removal based on the grounds asserted herein, and

promptly upon the filing of same, is also filing a Notice of Filing Notice of Removal with the Tarrant

County state court in which this case was previously pending.

                               II.     GROUNDS FOR REMOVAL

        6.       This Court has original jurisdiction over this civil action pursuant to 28 U.S.C.

§ 1332(a) because the parties involved are citizens of different states, and the matter in controversy

exceeds $75,000, exclusive of interest and costs.

        A.       Complete Diversity Exists Between the Viable Parties.

        7.       According to Plaintiff’s Original Petition, at the time this action was commenced,

Plaintiff was, and still is, domiciled in Tarrant County, Texas. In determining diversity jurisdiction,

the state where someone establishes his domicile serves a dual function as his state of citizenship.

Hollinger v. Home State Mut. Ins. Co., 654 F.3d 564 ( 5th Cir. 2011). A person’s state of domicile

presumptively continues unless rebutted with sufficient evidence of change. Id. “Evidence of a

person’s place of residence…is prima facie proof of his domicile.” Id. (citations omitted).

Furthermore, once established, “[a] person’s state of domicile presumptively continues unless

rebutted with sufficient evidence of change.” Id. Thus, for purposes of diversity of citizenship,

Plaintiff is considered a Texas citizen.

        8.       Defendant Allstate Vehicle and Property Insurance Company is a corporation

incorporated under the laws of the State of Illinois, having its principal place of business now and at

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the time this action was commenced at Northbrook, Cook County, in the State of Illinois. Allstate

Vehicle and Property Insurance Company is now, and was at the time this action was commenced, a

citizen of the State of Illinois.

         B.      The Amount in Controversy Exceeds $75,000.

         9.      Additionally, the claims asserted by Plaintiff exceed $75,000. Plaintiff seeks

“monetary relief over $100,000, but not more than $200,000, including damages of any kind,

penalties, costs, expenses, pre-judgment interest, and attorney’s fees.” Exhibit C at ¶ 4. Thus, should

Plaintiff prevail on his claims herein, the damages potentially to be awarded exceed $75,000 on their

face.

                                            III.    VENUE

         10.     Venue for removal is proper in this district and division under 28 U.S.C. § 1441(a)

because this district and division embrace the place in which the removed action was pending, the

96th Judicial District Court of Tarrant County, Texas, and a substantial part of the events giving rise

to Plaintiff’s claims allegedly occurred in that district.

                            IV.     PROCEDURAL REQUIREMENTS

         11.     Pursuant to 28 U.S.C. § 1446(a), the following exhibits are attached and indexed:

 EXHIBIT                                            DESCRIPTION

    A.            Index of Matters Being Filed

    B.            Docket Sheet in the state court action

    C.            Plaintiff’s Original Petition filed in the 96th Judicial District Court of Tarrant
                  County, Texas on February 12, 2020 (Cause No. 096-315149-20)

    D.            Civil Case Information Sheet filed in the 96th Judicial District Court of Tarrant
                  County, Texas on February 12, 2020 (Cause No. 096-315149-20)

    E.            Citation Issued to Allstate Vehicle and Property Insurance Company on February
                  13, 2020



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 EXHIBIT                                            DESCRIPTION

    F.            Affidavit of Service of Citation on Allstate Vehicle and Property Insurance
                  Company filed on February 25, 2020

    G.            Defendant Allstate Vehicle and Property Insurance Company’s Original Answer to
                  Plaintiff’s Original Petition filed in the 96th Judicial District Court of Tarrant
                  County, Texas on March 11, 2020 (Cause No. 096-315149-20)

    H.            List of Counsel of Record


         12.     This Notice of Removal is being filed within 30 days of service of the citation and

Plaintiff’s Original Petition, and is thus timely filed under 28 U.S.C. §1446(b). There exists an actual

and justiciable controversy between Plaintiff and Allstate with regard to the legal issues herein and

this controversy is within the jurisdiction of this Court.

         13.     Pursuant to 28 U.S.C. § 1446(a), all pleadings, process, orders and all other filings in

the state court action are attached to this Notice.

         14.     Pursuant to 28 U.S.C. § 1446(d), written notice of filing of this Notice of Removal

will be given to all adverse parties promptly after the filing of same.

         15.     Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of the Notice of Removal

will be filed with the District Clerk for the 96th Judicial District Court of Tarrant County, Texas

promptly after filing of same.

                                       V.      CONCLUSION

         16.     Allstate respectfully requests that the above-captioned action now pending in 96th

Judicial District Court of Tarrant County, Texas be removed to the United States District Court for

the Northern District of Texas, Fort Worth Division.




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                                          Respectfully Submitted,


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                                          ATTORNEYS FOR DEFENDANT


                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing document has been served on
all counsel of record in accordance with the Federal Rules of Civil Procedure on March 16, 2020.

                                              /s/ Susan E. Egeland
                                              SUSAN E. EGELAND




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